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                                                                   7

                                                                   8                                UNITED STATES BANKRUPTCY COURT

                                                                   9                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                  10                                        LOS ANGELES DIVISION

                                                                  11   In re:                                               Case No.: 2:15-bk-28443 (NB)
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   CLOUDBREAK ENTERTAINMENT, INC.,                      Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                   Debtor.              REPLY TO OPPOSITION OF LAYNE
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                                                                                                                            LESLIE BRITTON TO MOTION FOR
                                                                  14                                                        ORDER DISMISSING THE
                                                                                                                            BANKRUPTCY CASE FILED BY
                                                                  15                                                        CLOUDBREAK ENTERTAINMENT,
                                                                                                                            INC; DECLARATION OF CONRAD
                                                                  16                                                        RIGGS
                                                                  17                                                        Date:    January 29, 2019
                                                                                                                            Time:    2:00 p.m.
                                                                  18                                                        Place:   255 E. Temple Street
                                                                                                                                     Courtroom 1545
                                                                  19                                                                 Los Angeles, CA 90012
                                                                  20                                                        Judge:   Honorable Neil Bason
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                                                                   1            Debtor and debtor in possession Cloudbreak Entertainment, Inc. (“Cloudbreak” or the

                                                                   2   “Debtor”) hereby files its Reply to the opposition (the “Opposition”) of disputed creditor Layne

                                                                   3   Leslie Britton (“Britton”) to Cloudbreak’s motion (the “Dismissal Motion”) to dismiss the instant

                                                                   4   bankruptcy case, subject to certain conditions.

                                                                   5                                                                 I.

                                                                   6                                                     INTRODUCTION

                                                                   7   A.       Overview

                                                                   8            Britton opposes dismissal and instead advocates for the appointment of a trustee, ostensibly

                                                                   9   to protect Cloudbreak’s assets for the benefit of its creditors. However, as Britton must concede,

                                                                  10   aside from the Undisputed Debt, he is now the only creditor in this Bankruptcy Case. The UST’s

                                                                  11   position on its motion for the appointment of a chapter 11 trustee implicitly acknowledges this fact.
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                                                                  12   Thus, stripped bare of its rhetoric, Britton’s position is that he is entitled to a trustee to protect
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                                                                  13   Cloudbreak’s assets solely for his benefit. As discussed below, Cloudbreak is prepared to set aside a
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                                                                  14   $2.5 million reserve for Britton as a condition to dismissal, will immediately pay his contract award

                                                                  15   (and interest) from that reserve and will pay the balance of any enforceable judgment entered in his

                                                                  16   favor by the Trial Court.

                                                                  17            Unsaid in either the Opposition or his motion to confirm the Britton Plan (the “Confirmation

                                                                  18   Motion”) is Britton’s improper desire to wrest control of the defense of the remaining portions of the

                                                                  19   State Court Litigation from Cloudbreak (which is presumptively solvent and which, together with its

                                                                  20   sole shareholder, has a real economic interest in the outcome of that litigation) in favor of a trustee

                                                                  21   (preferably a hand-picked trustee) who will have no economic interest in the outcome of the

                                                                  22   litigation (but who will owe a fiduciary duty exclusively to Cloudbreak and its shareholder). There is

                                                                  23   no doubt that Britton hopes or assumes that a trustee will be more inclined than Cloudbreak to settle

                                                                  24   the litigation quickly (rather than endure many years of further litigation) for more than is justified

                                                                  25   by the merits of his claim.1 After all, while Britton argues to this Court that he has a $9 million

                                                                  26   claim, the reality is very different; his current claim is for no more than about $1 million.

                                                                  27   1
                                                                        Although there have been a number of efforts to settle or mediate the parties’ disputes, if Britton is sincere in a desire to
                                                                       settle this matter (and after the Court of Appeals ruling he should give careful consideration to that option), the Debtor is
                                                                  28   prepared to proceed with another mediation. Indeed, the Court should give serious consideration to ordering such a
                                                                       mediation, as circumstances have materially changed since mediation was last ordered.

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                                                                   1   B.         Britton’s Remaining Claims

                                                                   2              Britton currently has in his favor a contract damage award of $489,500.00, plus an award of

                                                                   3   pre-judgment interest at the rate of 10% per annum, for a total claim of $782,856.43 through the date

                                                                   4   of the hearing on the Dismissal Motion (the “Contract Award”). No one reasonably expects the

                                                                   5   Contract Award to change at the conclusion of the remand proceedings, except that the Superior

                                                                   6   Court may award reasonable attorney’s fees to Britton if it determines he was the prevailing party.2

                                                                   7   However, it is doubtful that the Superior Court will deem Britton to be the prevailing party.

                                                                   8              As the Court of Appeals recently noted, “…in deciding whether there is a ‘party prevailing

                                                                   9   on the contract’, the trial court is to compare the relief awarded with the parties’ demands on those

                                                                  10   same claims and their litigation objectives as disclosed by the pleadings, trial briefs, opening

                                                                  11   statements, and similar sources.” Marina Pacifica Homeowners Ass. v Southern California
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                                                                  12   Financial Corp 228 Cal. Rptr. 3d 799, 806 (2018) [ citing the California Supreme Court’s decision
                                        LOS ANGELES, CALIFORNIA




                                                                  13   in Hsu v Abbara, 9 Cal. 4th 863, 877-878 (1995)]. In denying Britton a new trial on his contract
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                                                                  14   claim, the Trial Court noted that the jury’s contract award was derived directly from the damage

                                                                  15   analysis of Cloudbreak’s expert witness. New Trial Order, page 12 of 17. The jury resoundingly

                                                                  16   rejected Britton’s expert’s testimony of $15 million in damages and rejected Britton’s interpretation

                                                                  17   of the Consulting Agreement. Under applicable law, Britton cannot be viewed as the “prevailing

                                                                  18   party.” Indeed, given that the jury accepted Cloudbreak’s version of events, the Superior Court

                                                                  19   could well find that Cloudbreak is the prevailing party, in which case Britton would be liable to

                                                                  20   Cloudbreak for its attorney’s fees. In any event, given the relatively small amount that the jury

                                                                  21   awarded, even if Britton is deemed the prevailing party, it is inconceivable that he will be entitled to

                                                                  22   a substantial attorney’s fee award. If there is any attorney fee award in his favor, it cannot

                                                                  23   conceivably increase Britton’s judgment above $1million.

                                                                  24              The jury awarded Britton zero damages on his money had and received claim. While the jury

                                                                  25   ostensibly found liability on this claim, there was neither a factual nor legal basis for this finding. As

                                                                  26   more fully discussed in Section IV of the Status Conference Report [Dkt. 409], the Superior Court

                                                                  27   ruled in its 2016 New Trial Order that such arguments had to be made in a motion for judgment

                                                                  28
                                                                       2
                                                                           The Court of Appeal issued its remittitur on January 18, 2019.
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                                                                   1   notwithstanding the verdict (the “JNOV Motion”), which for procedural reasons, Cloudbreak did not

                                                                   2   make at that time. Now that the case has been remanded to the Superior Court, Cloudbreak intends

                                                                   3   to make a JNOV Motion before the Superior Court to enter judgment in its favor on the money had

                                                                   4   and received claim, notwithstanding the jury’s liability determination, and expects the motion to be

                                                                   5   granted. However, even if that motion is denied and the Superior Court rules that Britton is entitled

                                                                   6   to a new trial on “money had and received” that trial will not occur for a number of years, if for no

                                                                   7   other reason than Britton will appeal the Contract Award (and there are likely to be multiple other

                                                                   8   issues appealed by both parties).

                                                                   9           In summary, for the foreseeable future, Britton’s enforceable claim against Cloudbreak

                                                                  10   cannot exceed more than about $1million. The amount of that claim may increase but only in about

                                                                  11   2 to 3 years’ time if: (a) the Contract Award is overturned on appeal and Britton wins greater
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                                                                  12   damages in a retrial; and/or (b) all of the following occur: (i) the Superior Court denies the JNOV
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                                                                  13   Motion on the money had and received claim; (ii) any New Trial Order is upheld on appeal; and (iii)
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                                                                  14   in a retrial, Britton can somehow convince a jury that, in addition to his Contract Award, he is

                                                                  15   entitled to over $9million from Cloudbreak. This will require Britton to convince both judge and jury

                                                                  16   that Cloudbreak is somehow liable to him for 35% of distributions it made to Riggs (much of which

                                                                  17   to cover tax liabilities associated with Cloudbreak’s income). In any event, even if he can overcome

                                                                  18   all of these hurdles, as explained in the Status Conference Report, any award is likely to be

                                                                  19   immaterial for the following reasons:

                                                                  20                    (1)         Any recovery must exclude any and all proceeds relating to Survivor, which

                                                                  21           forms the basis for the Contract Award.

                                                                  22                    (2)         The only other funds received by Cloudbreak pursuant to the MBP Settlement

                                                                  23           on or after June 14, 2009 (the statute of limitations cutoff) were on account of Apprentice.

                                                                  24                    (3)         From Trial Exhibit JX138 , it can be seen that Cloudbreak received

                                                                  25           approximately $1.38 million on account of Apprentice in that period.

                                                                  26                    (4)         On average, Cloudbreak distributed approximately 57% of its MBP

                                                                  27

                                                                  28

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                                                                   1            Settlement cash flows to Riggs.3

                                                                   2                     (5)        Accordingly, to the extent funds can be traced, approximately $787,000 of

                                                                   3            Apprentice cash flow was distributed by Cloudbreak to Britton from and after June, 2009.

                                                                   4                     (6)        Britton asserts a claim to 35% of those monies, or approximately $275,000.

                                                                   5   This analysis, based on evidence relied upon by Britton at trial, demonstrates the palpable absurdity

                                                                   6   of his $9 million claim.4

                                                                   7            In March of last year, this Court tentatively estimated Britton’s claim in the amount of $2.5m

                                                                   8   as a distribution reserve for Cloudbreak’s present and potential future liabilities to Britton (the

                                                                   9   “Estimation Ruling”- see Transcript attached as Ex. A to Dkt. No. 363). After extensive briefing and

                                                                  10   argument, the Court was “more persuaded by Cloudbreak’s estimation than by Mr. Britton’s

                                                                  11   estimation” of over $9 million. The Court largely adopted the estimates put forward by the Debtor
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                                                                  12   and specifically found that $1.4 million represented a reasonable estimate of the maximum amount
                                        LOS ANGELES, CALIFORNIA




                                                                  13   that Britton might recover in any retrial on the money had and received claim. Transcript, page 7,
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                                                                  14   lines 20-21.The Court also noted that the estimate might change “if there is an appellate ruling that

                                                                  15   completely changes the landscape…” Id, at 26.5 As more fully discussed in the Status Conference

                                                                  16   Report [Dkt.409], Britton’s litigation position has not improved with the issuance of the California

                                                                  17   Court of Appeals’ ruling which means, at a minimum, that any increase in Britton’s claim (as remote

                                                                  18   as that might be), is many more years away than either Britton or Cloudbreak anticipated at the time

                                                                  19   of the Estimation Ruling.

                                                                  20   C.       Dismissal Conditions Proposed by Debtor

                                                                  21            On the other side of the dispute is Cloudbreak, which clearly and justifiably wishes to

                                                                  22   maintain control of the State Court Litigation, particularly because it believes that Britton will be

                                                                  23   required to return to the Debtor a large portion of the $1.877 million he has already been paid.

                                                                  24   3
                                                                           This percentage is derived from evidence accepted by the Trial Court and referred to in Britton’s counsel’s closing
                                                                       argument to the jury that Cloudbreak received approximately $47.4 million pursuant to the MBP Settlement and, over
                                                                  25   the same period of time, distributed approximately $27.2 million to Riggs in salary and distributions. (It should be noted
                                                                       that as Cloudbreak is a sub-chapter S Corporation, a large fraction of distributions were to reimburse the shareholder for
                                                                  26   the payment of taxes that would otherwise be paid by the Debtor, if it were taxed as a C Corporation).
                                                                       4
                                                                         While the Trial Court held that the statute of limitations for money had and received is three years, Cloudbreak believes
                                                                  27   it is only two, and reserves the right to argue the issue in any retrial. Ca. Code Civ. Proc. Sec. 339(1).
                                                                       5
                                                                         While the Court’s statement was made in contemplation of an appellate ruling that “makes it look as if the Britton
                                                                  28   claim is going to be much larger”, the Court’s comments apply with equal force to an appellate ruling that foreshadows
                                                                       the reverse outcome, that Britton’s claim is likely to be much smaller than asserted.
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                                                                   1   While Cloudbreak denies that Riggs has “looted” the Debtor (an allegation made despite the fact that

                                                                   2   it has increased its net cash position by over $3.6 million over the course of this case) and believes

                                                                   3   that Britton has adequate remedies in the State Court Litigation, Cloudbreak is also mindful of the

                                                                   4   time and effort that the Court devoted to the Estimation Ruling. Accordingly, in addition to the

                                                                   5   conditions set forth in the Dismissal Motion (payment of the Undisputed Debt and a thirty-day delay

                                                                   6   for entry of the Dismissal Order), Cloudbreak proposes that dismissal be made subject to the

                                                                   7   following conditions:

                                                                   8           1.       A reserve (the “Reserve”) of $2.5 million will be set up for the benefit of Britton and

                                                                   9   the Britton Claim. Subject to paragraph 2, below, no funds may be withdrawn from the Reserve

                                                                  10   except: (a) to pay a final judgment in favor of Britton; (b) pursuant to a settlement agreement with

                                                                  11   Britton or otherwise with Britton’s written consent; or (c) pursuant to an order of this Court.
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                                                                  12   Cloudbreak and Britton shall each have the right to ask this Court to either increase or decrease the
                                        LOS ANGELES, CALIFORNIA




                                                                  13   amount of the Reserve, based upon materially changed circumstances.
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                                                                  14           2.       Cloudbreak will pay Britton from the Reserve the Contract Award of $782,856.43

                                                                  15   plus an additional $134.21 per day from and after January 29, 2019 through the date of payment.

                                                                  16   (Payment will be made without prejudice to Cloudbreak’s appellate rights.) Cloudbreak wishes to

                                                                  17   pay the Contract Award to avoid the continued accrual of interest and to eliminate collection risk for

                                                                  18   Britton on the award.

                                                                  19           3.       If the Superior Court awards Britton attorney’s fees as part of his judgment, or awards

                                                                  20   Britton any additional relief over and above the Contract Award, Cloudbreak will pay any such

                                                                  21   additional amount to Britton from the Reserve (subject to Cloudbreak’s appellate rights).

                                                                  22           4.       The Reserve is without prejudice to Britton’s rights to seek further remedies from the

                                                                  23   State Court including, without limitation, the right to seek the appointment of a receiver.

                                                                  24           5.       All fees and expenses incurred by professionals retained at the expense of the Estate

                                                                  25   shall be subject to review and approval by this Court pursuant to Bankruptcy Code § 330.

                                                                  26           While Cloudbreak contends that dismissal is justified even without these conditions because

                                                                  27   this case is now a two party dispute, Cloudbreak proposes the foregoing conditions, which it believes

                                                                  28   strike a reasonable balance between protecting Britton and allowing Cloudbreak to exit these

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                                                                   1   proceedings.

                                                                   2                                                       II.

                                                                   3             THE BANKRUPTCY CASE IS INDISPUTABLY A TWO-PARTY DISPUTE

                                                                   4                                      AND IS NO LONGER VIABLE

                                                                   5           The rationale for dismissing (or abstaining from hearing) two-party disputes is well explained

                                                                   6   in In re AMC Investors, LLC, 406 B.R. 478, 488 (Bankr. D. Del. 2009), a case relied upon by Britton

                                                                   7   in the Opposition:

                                                                   8                    Courts generally abstain in two-party disputes where relief is available
                                                                                        in a non-bankruptcy forum. [Footnote omitted.] Resolution of these
                                                                   9                    disputes has the potential to transform the bankruptcy process into a
                                                                                        collections device, which it is not. [Footnote omitted.]
                                                                  10

                                                                  11   Consistent with the rationale that a bankruptcy case is a collective proceeding for the benefit of a
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                                                                  12   creditor body, rather than a collection device for a single creditor, the Court is required to look at the
                                        LOS ANGELES, CALIFORNIA




                                                                  13   case itself, rather than speculate as to what might happen if the case is dismissed, as the Opposition
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                                                                  14   urges. From this perspective, this Bankruptcy Case is clearly a two-party dispute. Aside from the

                                                                  15   Undisputed Debt (which both the Debtor and Britton agree should be paid as soon as possible) and

                                                                  16   accrued professional fees, there is only one creditor asserting a claim against the Estate, namely

                                                                  17   Britton. Despite Britton’s obfuscations to the contrary, no one has any interest in the outcome of this

                                                                  18   case other than Cloudbreak (and Cloudbreak’s sole shareholder, Riggs), on the one hand, and

                                                                  19   Britton, on the other hand.

                                                                  20           While Britton asserts that “Cloudbreak’s ‘two party’ argument has been rejected by

                                                                  21   numerous courts”, the cases he relies upon do not support this blanket assertion. In In re Kingbrook

                                                                  22   Dev. Corp., 261 B.R. 378 (Bankr. W.D.N.Y. 2001), the debtor claimed that the bankruptcy case was

                                                                  23   a two-party dispute because only one creditor responded to its motion to dismiss. The Court

                                                                  24   summarily rejected this argument, finding that while only one party may have appeared, “all

                                                                  25   creditors continue to have an interest in the outcome.” Id. at 379. Unlike Kingbrook, the party

                                                                  26   opposing dismissal here is also the only creditor of this estate. Likewise, in In re Taylor, 462 B.R.

                                                                  27   527 (Bankr. W.D. Pa. 2011), aff’d, 460 B.R. 673 (W.D. Pa. 2011), there was a creditor body whose

                                                                  28   collective interests needed to be protected in a bankruptcy proceeding. Id. at 528-29 (the debtor

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                                                                   1   scheduled ten creditors).

                                                                   2           In re Dreamstreet, Inc., 221 B.R. 724 (Bankr. W.D. Tex. 1998), does appear to be an

                                                                   3   instance in which a court declined to dismiss a Chapter 7 case for the benefit of a single creditor, the

                                                                   4   IRS. However, Dreamstreet should not control for several reasons. First, in Dreamstreet, the issue

                                                                   5   of whether a bankruptcy case can be maintained for the benefit of a single creditor was never raised

                                                                   6   or addressed by the court. Second, the initial bankruptcy filing appeared to be in bad faith. The

                                                                   7   debtor sought to dismiss only when the trustee expressed an interest in pursuing a fraudulent transfer

                                                                   8   action against the prepetition buyers of the debtor’s assets, in which the debtor’s principals appeared

                                                                   9   to have interests. The court observed that the motion to dismiss was particularly suspect because,

                                                                  10   absent an improper purpose, keeping the case in bankruptcy would ultimately benefit the debtor’s

                                                                  11   principals if there turned out to be proceeds from the fraudulent transfer action that could be used to
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                                                                  12   pay the IRS and, thus, extinguish the principals’ own direct liability to the IRS. Id. at 726. Third,
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Dreamstreet has been distinguished where, as here, maintaining the case would not serve a proper
                                           ATTORNEYS AT LAW




                                                                  14   bankruptcy purpose. Specifically, in In re Barbaria, 229 B.R. 124 (Bankr. E.D. Tex. 1998), the

                                                                  15   court granted the debtor’s motion to dismiss its chapter 7 case over the IRS’s objection. The debtor

                                                                  16   sought dismissal on the grounds that the chapter 7 trustee had not found any meaningful assets to

                                                                  17   administer leading to the conclusion that estate was probably administratively insolvent and the IRS

                                                                  18   was the only creditor “taking an active interest in the case” and could pursue its alleged veil-piercing

                                                                  19   remedies against the debtor’s principals outside of bankruptcy. Id. at 128. While here, in contrast,

                                                                  20   the Debtor is presumptively solvent, Barbaria nonetheless expressly rejects the use of bankruptcy to

                                                                  21   benefit a single creditor absent some other legitimate bankruptcy purpose. Accordingly, rather than

                                                                  22   supporting the contention that courts have routinely rejected Cloudbreak’s two-party argument,

                                                                  23   Dreamstreet is an old decision that appears to be an outlier and is almost certainly incorrectly

                                                                  24   decided.

                                                                  25           As a corollary to the foregoing, the Court should take account of Britton’s motivation in

                                                                  26   seeking a trustee, namely to remove Cloudbreak from the control of its own defense in the hope of

                                                                  27   gaining some perceived litigation advantage. In determining to dismiss the case rather than appoint a

                                                                  28   trustee at the request of an adverse litigant, the court in In re Starmark Clinics, LP 388 B.R. 729

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                                                                   1   (Bankr. S.D. Tex. 2008) took into account the litigant’s motivation, which was likely to “gain unfair

                                                                   2   advantage in the state court proceeding by removing [the principal] from control of the Debtor’s

                                                                   3   business.” Id, at 736. 6

                                                                   4                                                               III.

                                                                   5                                DISMISSAL DOES NOT PREJUDICE BRITTON

                                                                   6            Citing In re Dzierzawski, Britton contends that “Courts will deny motions to dismiss under

                                                                   7   section 305 even if only a single creditor is prejudiced.” This, however, is a gross distortion of the

                                                                   8   Dzierzawski decision. First, the court notes that prejudice to an individual creditor is just one factor

                                                                   9   to be considered, not a dispositive factor. Further, the court identified a specific remedy that would

                                                                  10   be available to a trustee (namely, the ability to make distributions from a limited liability company to

                                                                  11   its members) that would not be available to the individual creditor (who could only obtain a charging
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                                                                  12   order against membership interests but could not compel distributions to be made on account of
                                        LOS ANGELES, CALIFORNIA




                                                                  13   those interests). The court specifically found that the creditor “will get little or nothing from that
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                                                                  14   asset [i.e. levying on the debtor’s membership interest], because of Michigan’s charging-order

                                                                  15   statute” Id, at 411. In denying dismissal, the court also relied on the fact that other creditors would

                                                                  16   be paid in full, while the prejudiced creditor might not receive anything. The court noted that this

                                                                  17   outcome “would subvert one of the fundamental objectives of bankruptcy, namely that similarly

                                                                  18   situated creditors be treated equally in distributions…”. Id, at 417.

                                                                  19            Dzierzawski is readily distinguishable from the instant case. Under the proposed terms of

                                                                  20   dismissal, Britton’s presently liquidated claim (and any additional amounts that become due and

                                                                  21   payable upon entry of a judgment) is being paid in full. Further, a reserve is being set aside which

                                                                  22   this court has already tentatively determined is adequate to ensure payment of any future liquidated

                                                                  23   claim. Finally, as more fully set forth below, there are no remedies available to a trustee that are not

                                                                  24   also available to Britton.

                                                                  25            Britton contends that if the Dismissal Motion is granted, “preferences” may be forfeited but

                                                                  26
                                                                       6
                                                                         At the outset of this case, in seeking relief from the automatic stay, Britton argued that this proceeding was “essentially
                                                                  27   a two-party dispute”, pointing out that his claim (then alleged to be $14 million) was more than 90% of all asserted
                                                                       claims. Dkt. # 11, at page 18 of 26, lines 23-28. While that assertion was wrong at the time, and while the claim amounts
                                                                  28   have changed dramatically over the course of three years, with a claim of about $1m and a total claim pool of about
                                                                       $1.072m, Britton’s likely (rather than asserted) claim now comprises more than 93% of the total unsecured debt.
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                                                                   1   he fails to identify any specific action that will be lost. Rather, as the Court is aware, it is the

                                                                   2   recovery of distributions made to Riggs or West that Britton is relying on to satisfy his claim in the

                                                                   3   unlikely event that he is ever awarded a judgment that Cloudbreak cannot pay. Distributions are not

                                                                   4   payments on account of an antecedent debt; there is no antecedent debt when dividends are declared

                                                                   5   and made. Distributions may be recoverable as fraudulent transfers or unlawful dividends under

                                                                   6   applicable state law, but as discussed below, Britton’s ability to recover fraudulent transfers is

                                                                   7   unimpaired.

                                                                   8            Britton also contends that he will not have the power to recover post-petition transfers under

                                                                   9   Section 549. However, what he overlooks is that the estate’s powers to recover such transfers will

                                                                  10   be replaced by his own powers to recover fraudulent transfers if Cloudbreak was, or was rendered

                                                                  11   insolvent by such transfers and did not receive reasonably equivalent value (e.g. if Riggs did receive
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                                                                  12   reimbursements for “personal” rather than business expenses, and those payments have not already
                                        LOS ANGELES, CALIFORNIA




                                                                  13   been reimbursed; based on Britton’s allegations, that number is no more than about $30,000 in total).
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                                                                  14            Finally, Britton’s contention that a trustee would have a greater ability to recover fraudulent

                                                                  15   transfers under the seven year reach back provided for in Cal. Civ. Code Sec. 3439.09(c) is wrong

                                                                  16   for a very simple reason. The only way a trustee could rely on this statutory provision would be to

                                                                  17   invoke the rights of an actual creditor with an allowed claim under Bankruptcy Code Sec. 544(b).

                                                                  18   After confirmation of the Britton Plan or payment of the Undisputed Debt, the Britton Claim will be

                                                                  19   the only actual claim a trustee can rely on (although, under the express terms of the plan, it will not

                                                                  20   be an allowed claim). Thus, the trustee’s reach back rights are derivative of, and exactly the same as

                                                                  21   those of Britton. Thus, dismissal does not adversely affect Britton’s ability to recover fraudulent

                                                                  22   transfers.7

                                                                  23            On the contrary, Britton in fact gains remedies and protections by dismissal. He receives

                                                                  24   immediate payment on any liquidated or enforceable claim, receives the benefit of a reserve from

                                                                  25   which any speculative future awards can be collected, and all of his rights and remedies under state

                                                                  26   7
                                                                         In any event, Britton’s argument is largely irrelevant. Under Section 3439, the general limitation period is four years.
                                                                       With respect only to actually fraudulent transfers, the reach back period is the longer of four years or “not later than one
                                                                  27   year after the transfer…was or could reasonably be discovered by the claimant.” It is this period that is limited to no
                                                                       more than seven years. Under the circumstances, it appears far more likely that the discovery limitation, rather than the
                                                                  28   seven year limit, will curtail the scope of any recovery. Further, Britton has never contended that the distributions made
                                                                       to Riggs and West were made with actual intent to defraud.
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                                                                   1   law (including the right to seek a receiver and to recover fraudulent transfers) are retained in full.

                                                                   2                                                       IV.

                                                                   3                         THERE IS NO VIABLE ALTERNATIVE TO DISMISSAL

                                                                   4           As discussed in section II, above, this case cannot be maintained simply as a collection

                                                                   5   vehicle for Britton, especially to advance the $9 million claim he wishes he had, rather than the

                                                                   6   approximately $800,000 claim he actually holds. The only conceivable purpose Britton has in

                                                                   7   keeping this case alive is to secure the appointment of a trustee who will aid his collection efforts,

                                                                   8   and his efforts to avoid substantial liability to the Debtor, and who is presumably expected to enter

                                                                   9   into a favorable settlement with him.

                                                                  10           However, as more fully discussed in the Debtor’s Opposition to the Confirmation Motion

                                                                  11   (the “Confirmation Opposition”), the Court does not have the power to appoint a trustee for this
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                                                                  12   purpose. Rather, the appropriate mechanism is a receiver in the State Court Litigation. Britton
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                                                                  13   contends that “the appointment of a receiver is illusory,” but never explains why. While he cites In
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                                                                  14   re Taylor, supra, for the proposition that “courts have rejected the idea that state court alternatives

                                                                  15   for creditors would serve as a basis to support dismissal,” Taylor involved the protection of multiple

                                                                  16   creditors, not the collection action of a single creditor.

                                                                  17           As the principle purpose of the Britton Plan is to obtain a trustee in aid of enforcement, its

                                                                  18   primary objective is inconsistent with the Bankruptcy Code and it cannot be confirmed for that very

                                                                  19   reason. Additionally, as more fully set forth in the Confirmation Opposition, there are myriad other

                                                                  20   reasons why Britton’s proposed plan cannot be confirmed.

                                                                  21           The UST also sought the appointment of a trustee but has since agreed that if the Dismissal

                                                                  22   Motion is granted, it will withdraw its motion. Implicit in the UST’s decision is the conclusion that

                                                                  23   subject to payment of the Undisputed Debt, there are no other parties to protect other than Britton,

                                                                  24   and that Britton has adequate remedies in the State Court Litigation. With the added conditions to

                                                                  25   dismissal proposed in this Reply, Britton will not only have those state court remedies available to

                                                                  26   him but will be granted additional, significant protections that provide reasonable assurances to him

                                                                  27   of the payment in full of any legitimate claim he has against Cloudbreak. Dismissal under these

                                                                  28   conditions also allows Cloudbreak to return to business without being held hostage to Britton’s

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                                                                   1   fanciful money had and received claim.

                                                                   2                                                              V.

                                                                   3       THE OPPOSITION CONTAINS NUMEROUS MISSTATEMENTSAND DISTORTIONS

                                                                   4            The Opposition contains numerous misrepresentations, too numerous to address in full in this

                                                                   5   Reply. However, there are two important distortions that require a response.

                                                                   6   A.       The Riggs/West Settlement

                                                                   7            Britton argues that the Riggs/West Settlement is a wholly improper effort by Cloudbreak or

                                                                   8   Riggs to “buy off” West. This is just the latest in a series of unfounded allegations that Britton has

                                                                   9   made against Riggs and West. At both the hearing to approve the disclosure statement on his joint

                                                                  10   plan with West and in his motion to condition withdrawal of the West Claim upon payment of a

                                                                  11   penalty to him, Britton recklessly accused both Riggs and West of having perpetrated multiple
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                                                                  12   bankruptcy crimes. [Dkt. # 380, page 3, lines 14-25]. As this Court correctly noted in largely
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                                                                  13   denying Britton’s motion “…Britton’s assertions of something nefarious are not very
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                                                                  14   persuasive….There is nothing surprising in each of Mr. Britton and Mr. Riggs attempting to obtain

                                                                  15   West as an ally.”

                                                                  16            As Britton knew full well when he joined in Cloudbreak’s objection to the West Claim, the

                                                                  17   underlying obligation to West is that of Riggs, under a divorce settlement, not Cloudbreak. See Dkt.

                                                                  18   # 256 (“The Debtor Claim Objection is undoubtedly correct as a matter of law. Cloudbreak, the

                                                                  19   corporate entity owned by Riggs, never owed, and does not owe, anything to West. This Court

                                                                  20   should disallow the West Claim in its entirety”). Further, Britton knows full well that West has not

                                                                  21   been paid pursuant to that settlement since before this bankruptcy was commenced. The Riggs/West

                                                                  22   Settlement is nothing more than Riggs’ agreement to fulfill his obligations to West upon the terms

                                                                  23   and conditions set forth therein. Contrary to Britton’s assertion, West does not receive a “bonus”

                                                                  24   under the Riggs/West Settlement Agreement; all she receives is exactly what she is entitled to under

                                                                  25   the terms and conditions of a Further Stipulated Judgment entered in the marital divorce

                                                                  26   proceedings.i8

                                                                  27

                                                                  28   8
                                                                        The irony is that if anyone tried to “buy” West’s support, it was Britton, not Cloudbreak or Riggs, when he offered to
                                                                       pay over $400,000 of the Debtor’s money to West in order to secure her support for his efforts to obtain a trustee.
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                                                                   1   B.       The “Looting” Allegations

                                                                   2            Britton’s theory that Riggs has “looted” almost $118,000 from Cloudbreak is based on a

                                                                   3   spreadsheet given to his counsel by the Debtor on October 30, 2018, which identifies charges made

                                                                   4   on Riggs’ credit card between June 1, 2017 and October 1, 2018 that were paid by Cloudbreak.

                                                                   5   Opposition, page 13, lines 12-14. From this fact that, and this fact alone, Britton concludes that all of

                                                                   6   these expenses are personal, rather than business related.9

                                                                   7            Britton’s assertion that Riggs admitted in his deposition that he used Cloudbreak’s funds to

                                                                   8   pay personal expenses is simply not true. On the contrary, in his deposition, Riggs:

                                                                   9            A.      Denied that Cloudbreak paid personal expenses during the bankruptcy.-Riggs

                                                                  10   Transcript, 111:22-24 - adding that “[i]f there were, it would have been an error and that was part of

                                                                  11   the reimbursement.” Id, at 24-25.10
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                                                                  12            B.      Asserted that the expenses were “all reasonable business expenses.” Riggs Transcript,
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                                                                  13   112:7.
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                                                                  14            C.      Explained that the American Express card is his personal card and that for years, it

                                                                  15   has been Cloudbreak’s and his practice to use the card for both business and personal expenses.

                                                                  16   Riggs Transcript, 113:11-16.

                                                                  17            D.      Testified that he reviews the credit card statements when he gets them and discusses

                                                                  18   with Cloudbreak’s accountant which charges are personal and which are business related. Riggs

                                                                  19   Transcript, 113:17-25.

                                                                  20            E.      Explained that this practice has continued during the pendency of the bankruptcy

                                                                  21   case. Riggs Transcript, 114:5-10.

                                                                  22            F.      Testified that Cloudbreak pays the business portion of the card statement directly to

                                                                  23   American Express, and that he pays the balance. Riggs Transcript, 114:17-20.

                                                                  24            G.      Acknowledged that all such business expenditures are timely disclosed in the monthly

                                                                  25   operating reports filed with this Court. Riggs Transcript, 115:21-116:2.

                                                                  26
                                                                       9
                                                                         As Britton acknowledges, almost $89,000 of these expenses have been repaid by Riggs to Cloudbreak, without
                                                                  27   prejudice. As was explained to Britton’s counsel, this amount reflects the amount by which reimbursements to Riggs
                                                                       exceeded the average monthly reimbursements made to him during the first two years of the case, which were timely
                                                                  28   disclosed in MOR’s and to which no objection has ever been made. Izakelian Dec. [Dkt. 427-1], Ex. 6.
                                                                       10
                                                                          All transcript excerpts are attached to the Declaration of Jeremy V. Richards, filed concurrently herewith.
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                                                                   1            H.       Testified that he was unaware that Cloudbreak had reimbursed a charge to his

                                                                   2   personal lawyer and acknowledged that if this did happen, that it “would have been a mistake, and it

                                                                   3   would have been corrected.” Riggs Transcript, 118:13-20.

                                                                   4            In the Opposition, Britton identifies eight categories of expenses (totaling about $8600 over a

                                                                   5   16 month period) which he claims establish that Riggs has paid personal expenses using corporate

                                                                   6   funds. Opposition, page 7:14-8:1. Tellingly, with the exception of the first category, Britton never

                                                                   7   asked Riggs about these charges in his deposition or why it is his belief that they are reasonable

                                                                   8   business expenses. As more fully set forth in the Declaration of Conrad Riggs filed concurrently

                                                                   9   herewith, many of these expenses were incurred in exploring reality or non-scripted development

                                                                  10   opportunities for Cloudbreak after Riggs was released from certain contractual restrictions as an

                                                                  11   employee of Amazon.11 In any event, substantially all of the allegedly improper expenses have been
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                                                                  12   reimbursed by Riggs and no further American Express payments have been made by Cloudbreak on
                                        LOS ANGELES, CALIFORNIA




                                                                  13   behalf of Riggs.
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                                                                  14            Riggs also testified in his deposition to the financial burden this case has placed upon him

                                                                  15   personally, which has resulted in a significant benefit to the estate. Specifically, Riggs testified that

                                                                  16   because the Debtor is a Sub-Chapter S corporation, he has personally paid or incurred about

                                                                  17   $500,000 in taxes based on Cloudbreak’s post-petition income to date, for which he has received no

                                                                  18   tax distributions from the Debtor. Riggs Transcript, 47:19-49:13.

                                                                  19                                                                VI.

                                                                  20                                                       CONCLUSION

                                                                  21            There is no viable bankruptcy case to be maintained in this matter. The Court cannot and

                                                                  22   should not be used as a forum for enforcement and collection of a single creditor’s highly disputed

                                                                  23   and highly exaggerated claim. Rather, the case is now clearly a two party dispute and should be

                                                                  24   dismissed at this time. The only real question for the Court to determine is upon what conditions. In

                                                                  25   this Reply, the Debtor has proposed a number of additional conditions and safeguards; in particular a

                                                                  26   reserve in an amount which this Court has largely determined is sufficient to protect Britton’s

                                                                  27
                                                                       11
                                                                          It is ironic that Britton takes issue with these expenses when, at the same time, in support of his efforts to obtain a
                                                                  28   trustee, he alleges that “Riggs has also ensured that Cloudbreak has done nothing to attempt to monetize its assets
                                                                       because doing so might generate more cash that would be beyond Riggs’ control.” Dkt. # 406, page 34, lines 18-19.
                                                                                                                                     13
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                                                                   1   interests. These protections are being offered in addition to those that are available to Britton in the

                                                                   2   State Court Litigation, which are substantial and have not been impaired or prejudiced by the

                                                                   3   pendency of this bankruptcy. The UST, which is charged with protecting the interests of creditors as

                                                                   4   a whole, does not oppose dismissal, subject to certain safeguards. The Debtor is prepared to offer

                                                                   5   safeguards for the benefit of Britton that go substantially beyond those requested by the UST.

                                                                   6   Cloudbreak respectfully submits that, upon consideration of all the relevant circumstances, this

                                                                   7   Bankruptcy Case should be dismissed, subject to all of the conditions set forth in section I, above.

                                                                   8

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                                                                  10
                                                                       Dated:     January __, 2019                   PACHULSKI STANG ZIEHL & JONES LLP
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                                                                     By        /s/ Jeremy V. Richards
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                           Jeremy V. Richards
                                           ATTORNEYS AT LAW




                                                                                                                               Attorneys for Debtor and Debtor-in-Possession
                                                                  14                                                           Cloudbreak Entertainment, Inc.
                                                                  15

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                                                                   1                                DECLARATION OF CONRAD RIGGS

                                                                   2   I, CONRAD RIGGS, declare as follows:

                                                                   3            1.    I am the sole shareholder and President of Cloudbreak Entertainment, Inc.

                                                                   4   (“Cloudbreak” or the “Debtor”). I make this Declaration in support of Cloudbreak’s Reply to the

                                                                   5   opposition (the “Opposition”) of Britton to the Debtor’s motion to dismiss this case (the “Dismissal

                                                                   6   Motion”). All capitalized terms not otherwise defined herein shall have the same meaning as set

                                                                   7   forth in the Dismissal Motion.

                                                                   8            2.    In his Opposition, at pages 7 and 8, Britton identifies a number of expenses which I

                                                                   9   incurred on my American Express card and which were paid by the Debtor directly to American

                                                                  10   Express. Britton claims these are “personal expenses.” I did address the payment to my personal

                                                                  11   lawyers in my deposition taken by Britton on January 16, 2019, which has been reimbursed I was
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                                                                  12   not asked about any of the other highlighted expenses.
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                                                                  13            3.    Although they have been repaid to the Debtor, I wish to address some of those other
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                                                                  14   expenses raised by Britton, as they were incurred as legitimate business expenses, consistent with

                                                                  15   Cloudbreak’s long time business practices and business purpose.

                                                                  16            4.    Since its inception, substantially all of Cloudbreak’s income has been derived from

                                                                  17   reality or non-scripted television shows such as “Survivor” or “Apprentice.” In fact, some of the

                                                                  18   development rights currently held by the Debtor relate to intellectual property in this television

                                                                  19   genre.

                                                                  20            5.    As an employee of Amazon until October of 2017, I was contractually limited in my

                                                                  21   ability to independently pursue opportunities in this area and did not want to create any conflicts of

                                                                  22   interest. However, I was no longer so constrained when my employment ended in October of 2017.

                                                                  23   Since that time, I have attempted to find new development and business opportunities for

                                                                  24   Cloudbreak.

                                                                  25            6.    The Opposition identifies restaurant expenses in Hawaii (totaling about $480) and

                                                                  26   expenses incurred in Colorado (totaling about $761 in March of 2018 and about $1000 in August of

                                                                  27   2018) that relate to certain business development and research that I undertook to develop potential

                                                                  28   reality television series about staff working at island and mountain resorts (the “Potential Reality TV


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                                                                       1   Series”), similar to various television series about niche job occupations, including a series called

                                                                       2   Below Deck, featured on the Bravo Network, Ice Road Truckers on History Channel, Dog The

                                                                       3   Bounty Hunter on A&E, among many other series. Reality television series about niche job

                                                                       4   occupations are a common reality television genre and the Potential Reality TV Series fall in this

                                                                       5   category.

                                                                       6           7.       The Opposition also identifies about $2500 for tickets for music concerts. These are

                                                                       7   business development expenses for research related to potential music television documentaries

                                                                       8   which is another common unscripted television genre. These expenses include research for a

                                                                       9   potential documentary with Taylor Swift which was ultimately produced for Netflix by a competitor

                                                                      10   of Cloudbreak called Den of Thieves.

                                                                      11           8.       Finally, the Opposition identifies a $3,575.00 expense for the Sundance Film Festival.
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                                                                      12   This is an ordinary course business development expense as Sundance is an annual gathering of
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                                                                      13   television and film executives, artists, creators, financiers, distributors and other relevant persons and
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                                                                      14   companies.

                                                                      15           I declare under penalty of perjury that the foregoing is true and correct and that if called upon

                                                                      16   as a witness, I could and would competently testify thereto.

                                                                      17           Executed this ____ day of January, 2019, at _____________, California

                                                                      18

                                                                      19
                                                                                                                                   Conrad Riggs
                                                                      20
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                                                                   1                                    PROOF OF SERVICE OF DOCUMENT
                                                                   2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
                                                                       address is: 10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067
                                                                   3
                                                                       A true and correct copy of the foregoing document entitled (specify): REPLY TO OPPOSITION OF
                                                                   4   LAYNE LESLIE BRITTON TO MOTION FOR ORDER DISMISSING THE BANKRUPTCY CASE
                                                                       FILED BY CLOUDBREAK ENTERTAINMENT, INC. will be served or was served (a) on the judge in
                                                                   5   chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

                                                                   6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
                                                                       General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
                                                                   7   document. On (date) January 22, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary
                                                                       proceeding and determined that the following persons are on the Electronic Mail Notice List to receive NEF
                                                                   8   transmission at the email addresses stated below:

                                                                   9                                                                             Service information continued on attached page

                                                                  10   2. SERVED BY UNITED STATES MAIL:
                                                                       On (date) January 22, 2019, I served the following persons and/or entities at the last known addresses in this
                                                                  11   bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in
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                                                                       the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
                                                                  12   constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document
                                                                       is filed.
                                        LOS ANGELES, CALIFORNIA




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                                                                       Cloudbreak Entertainment, Inc.
                                                                  14   c/o Brentwood Management Group
                                                                       11812 San Vicente Blvd., Ste. 200
                                                                  15
                                                                       Los Angeles, CA 90049
                                                                                                                                                 Service information continued on attached page
                                                                  16
                                                                       3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
                                                                  17
                                                                       (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
                                                                       January 22, 2019, I served the following persons and/or entities by personal delivery, overnight mail service,
                                                                  18
                                                                       or (for those who consented in writing to such service method), by facsimile transmission and/or email as
                                                                       follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
                                                                  19
                                                                       judge will be completed no later than 24 hours after the document is filed.
                                                                  20
                                                                       VIA MESSENGER
                                                                       Honorable Neil W. Bason
                                                                  21
                                                                       United States Bankruptcy Court
                                                                       Edward R. Roybal Building & Courthouse
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                                                                       255 E. Temple St., Ste. 1552
                                                                       Los Angeles, CA 90012
                                                                  23
                                                                                                                                                 Service information continued on attached page
                                                                  24
                                                                       I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
                                                                  25
                                                                        January 22, 2019            Myra Kulick                                             /s/ Myra Kulick
                                                                  26    Date                            Printed Name                                        Signature

                                                                  27

                                                                  28
                                                                       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
                                                                       June 2012                                                               F 9013-3.1.PROOF.SERVICE
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   In re: Cloudbreak Entertainment
   Case No. 2:15-bk-28443-NB

   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF

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